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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                           §
In re:                     §                                   Chapter 11
                           §
STEWARD HEALTH CARE SYSTEM §                                   Case No. 24-90213 (CML)
LLC, et al.,               §
                           §                                   (Jointly Administered)
             Debtors. 1    §
                           §

                         MOTION OF DEBTORS
                TO ESTABLISH PROCEDURES FOR INTERIM
    COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR PROFESSIONALS

      IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN
      WRITING. UNLESS OTHERWISE DIRECTED BY THE COURT, YOU MUST FILE
      YOUR RESPONSE ELECTRONICALLY AT HTTPS://ECF.TXSB.USCOURTS.GOV/
      WITHIN TWENTY-ONE DAYS FROM THE DATE THIS MOTION WAS FILED. IF
      YOU DO NOT HAVE ELECTRONIC FILING PRIVILEGES, YOU MUST FILE A
      WRITTEN OBJECTION THAT IS ACTUALLY RECEIVED BY THE CLERK WITHIN
      TWENTY-ONE DAYS FROM THE DATE THIS MOTION WAS FILED. OTHERWISE,
      THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND GRANT THE
      RELIEF REQUESTED.

                  Steward Health Care System LLC and its debtor affiliates, as debtors and debtors

in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), respectfully

represent as follows in support of this motion (the “Motion”):

                                                  Background

                           On May 6, 2024, (the “Petition Date”), the Debtors each commenced with

this Court a voluntary case under chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”). The Debtors are authorized to continue to operate their business and manage their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.



1
     A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
     and noticing agent at https://restructuring.ra.kroll.com/Steward. The Debtors’ service address for these chapter
     11 cases is 1900 N. Pearl Street, Suite 2400, Dallas, Texas 75201.
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No trustee, examiner, or statutory committee of creditors has been appointed in these chapter 11

cases.

                         The Debtors’ chapter 11 cases are being jointly administered for procedural

purposes only pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”) and Rule 1015-1 of the Bankruptcy Local Rules for the United States

Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local Rules”).

                         The Debtors own and operate the largest private physician-owned for-profit

healthcare network in the United States. Headquartered in Dallas, Texas, the Debtors’ operations

include 31 hospitals across eight states, approximately 400 facility locations, 4,500 primary and

specialty care physicians, 3,600 staffed beds, and a company-wide workforce of nearly 30,000

employees. The Debtors provide care to more than two million patients annually.

                         Additional information regarding the Debtors’ business, capital structure,

and the circumstances leading to the commencement of these chapter 11 cases is set forth in the

Declaration of John R. Castellano in Support of Debtors’ Chapter 11 Petitions and First-Day

Pleadings (Docket No. 38) (the “First Day Declaration”). 2

                                                Jurisdiction

                         The Court has jurisdiction to consider this matter pursuant to

28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                             Relief Requested

                         By this Motion, pursuant to sections 330 and 331 of title 11 of the

Bankruptcy Code, Rule 2016 of the Bankruptcy Rules, and Rule 2016-1 of the Bankruptcy Local


2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    First Day Declaration.



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Rules, the Debtors request entry of an order establishing an orderly and regular process for the

monthly allowance and payment of compensation and reimbursement of expenses (the “Interim

Compensation Procedures”) for professionals whose services are authorized by this Court

pursuant to section 327 or 1103 of the Bankruptcy Code and who will be required to file

applications for allowance of compensation and reimbursement of expenses pursuant to sections

330 and 331 of the Bankruptcy Code and Bankruptcy Rule 2016(a).

                          A proposed form of order granting the relief requested herein is annexed

hereto as Exhibit A (the “Proposed Order”).

                                         Retention of Professionals

                          Given the size and complex nature of these chapter 11 cases, the Debtors

require the assistance of a number of professionals to efficiently manage these proceedings and to

successfully and timely emerge from chapter 11. Accordingly, the Debtors have filed or intend to

file separate applications with the Court to employ and retain a number of professionals, including,

without limitation, (i) Weil, Gotshal & Manges LLP, as attorneys to represent them in these chapter

11 cases, (ii) AlixPartners LLP, as financial advisor, (iii) Lazard Frères & Co. LLC, as

restructuring investment banker, (iv) Leerink Partners LLC, as healthcare investment banker,

(v) Cain Brothers, a division of KeyBanc Capital Markets Inc., as hospital investment banker,

(vi) McDermott Will & Emery LLP, as special counsel, and (vii) Kroll Restructuring

Administration LLC, as claims and noticing agent (collectively, the “Debtors’ Professionals”).

The Debtors may also need to retain additional professionals in connection with the administration

of the chapter 11 cases. 3



3
    Contemporaneously herewith, the Debtors filed a motion pursuant to sections 327, 328, 330, and 105(a) of the
    Bankruptcy Code seeking authority to employ certain professionals used in the ordinary course of business (each,
    an “Ordinary Course Professional”).



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                       The Debtors believe that establishing orderly procedures to pay the Debtors’

Professionals and attorneys and other professionals whose retentions are approved by this Court

pursuant to sections 327 or 1103 of the Bankruptcy Code, including professionals retained by any

statutory committee, if any, and that will be required to file applications for allowance of

compensation and reimbursement of expenses pursuant to sections 330 and 331 of the Bankruptcy

Code (collectively and together with the Debtors’ Professionals, the “Retained Professionals”)

will streamline the administration of these chapter 11 cases and otherwise promote efficiency for

the Court, the U.S. Trustee, and all parties in interest. A streamlined process for serving interim

fee applications and notices thereof will facilitate efficient review of the Retained Professionals’

fees and expenses while saving the Debtors unnecessary copying and mailing expenses.

                  Proposed Compensation and Reimbursement Procedures

                       The Debtors propose that the payment of compensation and reimbursement

of expenses of Retained Professionals be structured as follows (the “Compensation

Procedures”):

                    (i)   On or before the last day of each month following the month for which
                          compensation is sought or as soon as is reasonably practicable
                          thereafter, each Retained Professional seeking compensation shall send
                          a monthly statement, reasonably detailed indicating the nature of the
                          services rendered and expenses incurred (the “Monthly Statement”),
                          by email or hand delivery, to the following parties:

                          (a)    the Debtors: c/o Steward Health Care System LLC, Attn:
                                 Herbert L. Holtz, Esq., General Counsel
                                 (hholtz@toddweld.com);
                          (b)    the proposed attorneys for the Debtors: Weil, Gotshal &
                                 Manges LLP, Attn: Ray C. Schrock, Esq., Candace M. Arthur,
                                 Esq., David J. Cohen, Esq., and Stephanie N. Morrison, Esq.
                                 (Ray.Schrock@weil.com, Candace.Arthur@weil.com,
                                 DavidJ.Cohen@weil.com, and Stephanie.Morrison@weil.com);
                          (c)    the Office of the United States Trustee for the Southern District
                                 of Texas, Attn: Jana Whitworth and Ha Nguyen
                                 (Jana.Whitworth@usdoj.gov and Ha.Nguyen@usdoj.gov);


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                (d)   the attorneys for the ABL Lenders: Paul Hastings LLP, Attn:
                      Kristopher M. Hansen, Esq. and Christopher M. Guhin, Esq.
                      (krishansen@paulhastings.com and
                      chrisguhin@paulhastings.com);
                (e)   the attorneys for the FILO Lenders: Milbank LLP, Attn:
                      Michael Price, Esq., Brian Kinney, Esq. (mprice@milbank.com
                      and bkinney@milbank.com);
                (f)   the attorneys for the DIP Lender and MPT Prepetition Secured
                      Lender: KTBS Law LLP, Attn: Thomas Patterson, Esq. and
                      Sasha Gurvitz, Esq. (tpatterson@ktbslaw.com and
                      SGurvitz@ktbslaw.com); and
                (g)   the attorneys for any statutory committee appointed in these
                      chapter 11 cases.
         (collectively, the “Fee Notice Parties”).

         (ii)   Each Fee Notice Party shall have 14 days after delivery of a Monthly
                Statement to review it. Upon expiration of such 14-day period, the
                Debtors are authorized and directed to pay the Retained Professional an
                amount (the “Actual Monthly Payment”) equal to 80% of the fees and
                100% of the expenses requested in the applicable Monthly Statement
                (the total amount requested being the “Maximum Monthly Payment”)
                that are not subject to an objection pursuant to subparagraph (iii) below.

        (iii)   If a Fee Notice Party objects to a Monthly Statement, the objecting party
                shall, within 14 days after delivery of the Monthly Statement, deliver
                via email a written notice upon the respective Retained Professional and
                each of the other Fee Notice Parties (the “Notice of Objection to
                Monthly Statement”) setting forth with reasonable detail the nature of
                the objection and the amount at issue. Thereafter, the objecting party
                and the Retained Professional shall attempt to resolve the objection on
                a consensual basis. If the parties reach an agreement, the Debtors shall
                promptly pay 80% of the agreed-upon fees and 100% of the agreed-
                upon expenses. If, however, the parties are unable to reach a resolution
                of the objection within 14 days after delivery of the Notice of Objection
                to Monthly Statement, the objecting party shall file its objection
                (the “Objection”) with the Court within three (3) business days and
                serve such Objection on the respective Retained Professional and each
                of the other Fee Notice Parties. Thereafter, the Retained Professional
                may either (i) file with the Court a response to the Objection, together
                with a request for payment of the amount in dispute pursuant to the
                Objection (the “Disputed Amount”), or (ii) forego payment of the
                Disputed Amount until the next hearing on an Interim Fee Application
                or Final Fee Application (each as defined herein), at which time the
                Court will consider the Objection, if requested by the parties.



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         (iv)   Beginning with the period ending July 31, 2024, and at three month
                intervals thereafter (each, an “Interim Fee Period”), each of the
                Retained Professionals shall file with the Court and serve on the Fee
                Notice Parties an interim fee application (each an “Interim Fee
                Application”) for payment of compensation and reimbursement of
                expenses sought in the Monthly Statements served during such Interim
                Fee Period and prepared in accordance with the Interim Compensation
                Procedures. Each Interim Fee Application shall consist of (i) the
                Complex Case Fee Application Case Coversheet, the form of which is
                located on the Court’s website, (ii) a copy of the invoices for the interim
                application period (if hourly) or a calculation of the fee due for the
                interim application period (if non-hourly), unless already included in the
                applicable Monthly Statements, (iii) an itemized list of expenses for
                which reimbursement is requested (if not contained in the copies of the
                invoices), unless already included in the applicable Monthly Statements
                (iv) a narrative discussion, (v) a summary of the Monthly Fee
                Statements that are the subject of such application request, (vi) the
                amount of fees and expenses paid of date or subject to objection,
                (vii) the deadline for parties to file objections, and (viii) a proposed
                order in the form located on the Court’s website. Fee Notice Parties
                shall have 21 days after service of an Interim Fee Application, which
                service may be by email, to object thereto. The first Interim Fee
                Application shall cover the Interim Fee Period from the Petition Date
                through and including July 31, 2024. Notwithstanding anything to the
                contrary in the Interim Compensation Procedures, a Retained
                Professional may file a fee application in accordance with any
                procedures established by a chapter 11 plan filed in these cases and
                confirmed by the Court.

         (v)    Retained Professionals shall file their Interim Fee Applications on or
                before the 45th day, or the next business day if such day is not a business
                day, following the end of each Interim Fee Period; provided, that the
                failure to file an Interim Fee Application on such date shall not be the
                basis for objection to or disallowance of the fees and expenses of any
                Retained Professional.

         (vi)   The Debtors will request that the Court consider the Interim Fee
                Applications once every three (3) months or at such other intervals as
                the Court deems appropriate. The Court, in its discretion, may approve
                an uncontested Interim Fee Application without the need for a hearing
                if no Objections are timely filed. Upon allowance by the Court of a
                Retained Professional’s Interim Fee Application, the Debtors shall be
                authorized to promptly pay such Retained Professional all requested
                fees (including the 20% holdback) and expenses not previously paid.

        (vii)   The pendency of an Objection to payment of compensation or
                reimbursement of expenses will not disqualify a Retained Professional


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                            from the future payment of compensation or reimbursement of expenses
                            under these Compensation Procedures, unless otherwise ordered by the
                            Court.

                       The Debtors request that the Court limit service of Monthly Fee Statements,

Interim Fee Applications and final fee applications (each, a “Final Fee Application,” and together

with the Interim Fee Applications, the “Applications”) to the Fee Notice Parties. The Debtors

further request that all other parties that have filed a notice of appearance with the Clerk of this

Court and requested notice of pleadings in these chapter 11 cases shall be entitled to receive only

notice of hearings on the Applications (the “Hearing Notices”). Serving the Applications and the

Hearing Notices in this manner will permit the parties most active in these chapter 11 cases to

review and object to the Retained Professionals’ fees and will save unnecessary duplications and

mailing expenses.

                               Relief Requested Should Be Granted

                       Pursuant to section 331 of the Bankruptcy Code, all Retained Professionals

are entitled to submit applications for interim compensation and reimbursement of expenses every

120 days, or more often if the Court permits. Section 331 of the Bankruptcy Code provides in

relevant part as follows:

       A trustee, an examiner, a debtor’s attorney, or any professional person employed
       under section 327 or 1103 of this title may apply to the court not more than once
       every 120 days after an order for relief in a case under this title, or more often if the
       court permits, for such compensation for services rendered before the date of such
       an application or reimbursement for expenses incurred before such date as is
       provided under section 330 of this title.

11 U.S.C. § 331. Section 105(a) of the Bankruptcy Code authorizes the Court to issue any order

“that is necessary or appropriate to carry out the provisions” of the Bankruptcy Code. Id. § 105(a).

Thus, the Court has ample authority to enter an order authorizing the Interim Compensation

Procedures requested herein.



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                       The proposed Interim Compensation Procedures would enable the Debtors

to monitor closely the costs of administration, forecast cash flows, and implement efficient cash

management procedures. They would also allow the Court and key parties in interest, including

the U.S. Trustee, to ensure the reasonableness and necessity of the compensation and

reimbursement requested.

                       Courts in this District have granted similar relief to that requested herein in

a number of cases. See, e.g., In re Air Methods Corp., No. 23-90866 (MI) (Bankr. S.D. Tex.

Dec. 6, 2023) (Docket No. 315); In re Serta Simmons Bedding LLC, No. 23-90020 (DRJ) (Bankr.

S.D. Tex. Mar. 6, 2023) (Docket No. 422); In re Core Sci. Inc., No. 22-90341 (DRJ) (Bankr. S.D.

Tex. Feb. 21, 2023) (Docket No. 541); In re Talen Energy Supply, LLC, No. 22-90054 (MI) (Bankr.

S.D. Tex. June 24, 2022) (Docket No. 631); In re Basic Energy Servs., Inc., No. 21-90002 (DRJ)

(Bankr. S.D. Tex. Oct. 21, 2021) (Docket No. 527); In re CBL & Assocs. Props., Inc.,

No. 20-35226 (DRJ) (Bankr. S.D. Tex. Dec. 22, 2020) (Docket No. 350); In re Fieldwood Energy

LLC, No. 20-33948 (MI) (Bankr. S.D. Tex. Sept. 17, 2020) (Docket No. 367); In re CEC Ent.,

Inc., No. 20-33163 (MI) (Bankr. S.D. Tex. Aug. 14, 2020) (Docket No. 583); In re NPC Int’l, Inc.,

No. 20-33353 (DRJ) (Bankr. S.D. Tex. Aug. 14, 2020) (Docket No. 434). Similar relief is also

appropriate here.

                       Based upon the foregoing, the Debtors submit that the relief requested

herein is appropriate and in the best interest of the Debtors’ estates, creditors, and all parties in

interest, and, therefore should be granted in these chapter 11 cases.

                                               Notice

                       Notice of this Motion will be served on any party entitled to notice pursuant

to Bankruptcy Rule 2002 and any other party entitled to notice pursuant to Bankruptcy Local Rule

9013-1(d).


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              WHEREFORE the Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and such other and further relief as the Court may deem just

and appropriate.

Dated: May 11, 2024
       Houston, Texas


                                              /s/ Clifford W. Carlson
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                                            Proposed Attorneys for Debtors
                                            and Debtors in Possession




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                                       Certificate of Service

I hereby certify that on May 11, 2024, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas, and will be served as set forth in the Affidavit of Service to be filed by
the Debtors’ claims, noticing, and solicitation agent.



                                                         /s/ Clifford W. Carlson
                                                        Clifford W. Carlson




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